       Case 3:03-cr-00111-LC-MD Document 60 Filed 10/16/08 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                 CASE NO. 3:03CR111/LAC/MD

WILLIAM E BRADSHAW

                             REFERRAL AND ORDER

Referred to Senior Judge Lacey Collier on October 6, 2008
Motion/Pleadings: MOTION FOR CERTIFICATE OF APPEALABILITY
Filed byDefendant                          on 10/3/08      Doc.# 58
RESPONSES:
                                           on              Doc.#
                                           on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                       s/ Katherine V. Goodman
                                       Deputy Clerk: Katherine V. Goodman

                                     ORDER
Upon   consideration   of   the   foregoing,   it   is    ORDERED   this   16 th   day   of
October, 2008, that:
(a) The relief requested is DENIED.
(b) See Doc 56.




                                                         s/L.A. Collier
                                                     Lacey A. Collier
                                           United States Senior District Judge
